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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

                                                       )
In Re:                                                 )
                                                       )    Chapter 11
                                                       )
TELEXFREE, LLC ,                                       )    Case No. 14-40987-MSH
TELEXFREE, INC.,                                       )    Case No. 14-40988-MSH
TELEXFREE FINANCIAL, INC.,                             )    Case No. 14-40989-MSH
                                                       )
                              Debtors.                 )    Jointly Administered
                                                       )

     ORDER APPROVING MOTION BY CHAPTER 11 TRUSTEE TO ESTABLISH
             OMNIBUS PROCEDURES FOR THE RESOLUTION OF
                   DISPUTED PARTICIPANT CLAIMS

         A continued hearing having been held on this 19th day of December, 2017 on the Motion

by Stephen B. Darr, the duly appointed Chapter 11 Trustee (the “Trustee”) of the bankruptcy

estates of TelexFree, LLC, TelexFree, Inc., and TelexFree Financial, Inc. (collectively, the

“Debtors” or “TelexFree”) to Establish Omnibus Procedures for the Resolution of Disputed

Participant Claims (the “Motion”), and notice of the Motion having been given to all parties in

interest in accordance with the order of the Court, and an objection having been filed by Frantz

Balan, Marco Puzzarini, and Sandro Paulo Freitas, as class representatives of the domestic and

international classes of defendants in Adv. Proc. Nos. 16-4006 and 16-4007 (the “Class

Representatives” and the “Objection”, respectively),

         THE COURT HEREBY FINDS THAT:

         A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334, venue of these cases and this Motion in this district is proper under 28 U.S.C. §§ 1408

and 1409, and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         B.     Service of the Motion was appropriate.



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           C.       The establishment of the claims procedures will expedite the administration of the

Debtors’ estates and is in the best interest of creditors and parties in interest.

           NOW THEREFORE, taking into consideration the foregoing findings and all of the

evidence before the Court, it is HEREBY ORDERED, ADJUDGED, AND DECREED AS

FOLLOWS:

           1.       The Objection is hereby overruled, and the Motion is hereby GRANTED, as

modified herein.

           I.       Proposed Claim Allowance.

           2.       The Trustee is authorized to send Participants 1 who filed claims through the

Portal established by the Trustee (the “Participant Claimants”) a Proposed Claim Allowance

substantially in the form annexed as Exhibit “A” to the Order.

           3.       Participant Claimants shall have thirty (30) days from the date of receipt of the

Proposed Claim Allowance to file a response (“Claim Response”) to the Proposed Claim

Allowance. The Claim Response to a Proposed Claim Allowance shall be sent to the Trustee but

not filed with the Court.

           4.       If a Participant Claimant fails to send to the Trustee a timely Claim Response, the

Trustee shall be authorized to file with the Court a Notice of Claim Allowance (“Notice”),

substantially in the form annexed as Exhibit “B” to the Order, that will constitute the Participant

Claimant’s allowed claim, unless the Participant Claimant files a response within fourteen (14)

days of the filing of the Notice and demonstrates good cause for failure to timely file a Claim

Response.

           5.       If a Participant Claimant timely sends a Claim Response to the Proposed Claim

Allowance and the Trustee is unable to resolve the claim dispute with the Participant Claimant,

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    Terms not otherwise defined herein shall have the meanings ascribed in the Motion.

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the Trustee may file an objection to the claim with the Court, which shall comport with the

omnibus claims procedures set forth in Section II below.

       6.         If a Participant Claimant timely sends a Claim Response to the Proposed Claim

Allowance and the Trustee is able to reach a consensual resolution of the claim with the affected

Participant Claimant, the Trustee may file with the Court an Affidavit of Claim Allowance (an

“Affidavit”), substantially in the form annexed as Exhibit “C” to the Order, which shall establish

the allowed amount of the Participant Claim without further notice or order.

       II.        Omnibus Objections to Claims

       7.         In connection with the filing of any omnibus objections to Participant claims, in

addition to the list of common objections set forth in FRBP 3007(d), the Trustee shall be

authorized to include as an objection that the Claim does not comport with the Net Equity

calculation for one or more of the following reasons:

             a.   Multiple Participant Claimants claimed ownership of one or more of the same

                  User Accounts;

             b.   Participant Claimants deleted User Accounts associated with them by the

                  Debtors’ records without adequate explanation or documentation;

             c.   Participant Claimants added User Accounts that were not associated with them by

                  the Debtors’ records without adequate explanation or documentation;

             d.   Participant Claimants added or deleted a transaction or adjusted a transaction

                  amount in a User Account without adequate explanation or documentation;

             e.   Participant Claimants adjusted the amount of their claim based on transactions

                  not consistent with the Net Equity formula, without adequate explanation or

                  documentation;



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            f.   Participant Claimants asserted claims in foreign currencies or asserted punitive

                 claims or other claims that do not qualify for allowance under the Net Equity

                 formulation approved by the Court; and

            g.   The claims are objectionable under Sections 502(d) of the Bankruptcy Code.

       8.        The Trustee shall be authorized to categorize Participant claims in the omnibus

claims objections based upon the Participant Claimant’s country of origin. The maximum

number of Participant claims permitted in each omnibus objection shall be 250.

       9.        Claim Responses to omnibus objections to claims shall be filed with the Court

and served upon the Trustee and Trustee’s counsel.

       III.      Electronic Noticing

       10.       The Trustee shall be authorized to serve the Proposed Claims Allowance and

objections to claims on Participant Claimants by electronic mail using the electronic mail address

provided by Participant Claimants in their Claim.

       11.       The Trustee shall be authorized to provide customized notices to Participant

Claimants, in lieu of attaching complete exhibits to an omnibus objection, where the use of such

customized notices will, in the Trustee’s judgment, provide superior notice to Participant

Claimants and/or cost savings to the Debtors’ estates

       IV.       Service of Proposed Claim Allowance, objections to claims, and Claim
                 Response.

       12.       The Trustee shall serve the Proposed Claim Allowance and omnibus objections to

claims upon Participant Claimants in English, Spanish, and Portuguese.

       13.       If a Claim Response is sent to the Trustee in a foreign language, the Participant

Claimant shall provide with the Claim Response a certified translation into English prepared by

an interpreter certified by the Administrative Office of the United States Courts.

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       14.     In accordance with the order of the Court dated June 2, 2016 [docket 749], all

pleadings and notices filed with the Court, if sent in a foreign language, shall be accompanied by

a certified translation into English prepared by an interpreter certified by the Administrative

Office of the United States Courts.

       V.      Resolution of Participant Claims filed using Standard Claim Form.

       15.     The Trustee shall be authorized to send Participants who filed a Standard Claim

form a Notice substantially in the form annexed as Exhibit “D” to the Order advising Participants

that they need to file a Participant Claim form within thirty (30) days of the date of the Notice,

failing which the Participant’s claim shall be disallowed without further Court order.

        VI.    Closure of the Portal

       16.     The Trustee shall be authorized to terminate access to the Portal at any time after

the expiration of forty-five (45) days from the date of this Order.

       VII.       Miscellaneous

       17.     In connection with sending Proposed Claims Allowances and omnibus objections

to claims, if a Participant Claimant did not identify their name in the “Name” column of their

Claim, the Trustee may use the name indicated in the “Signature” column of the Claim form. If

a Participant listed a name in a format other than the Latin alphabet, the Trustee may rely solely

upon the Participant Claim number in communications with Participant Claimants and filings

with the Court.

       18.     The foregoing Procedures shall apply with respect to the determination of

Participant Claims. The Trustee reserves all rights with respect to the procedures to be

established and implemented in connection with the resolution of Claims other than Participants.




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       VIII. Resolution of Class Representatives’ Objections

       19.     The Trustee shall provide a notice (the “Net Winner Bar Date Notice”) to all

Participants who are alleged to be members of the Defendant net winner class in either the

domestic class action (Adv. Proc. No. 16-4006) or the foreign class action (Adv. Proc. No. 16-

4007 and, collectively, the “Adversary Proceedings”) (the “Participant Net Winners”), which

notice shall provide a link (“Hyperlink”) for the Participant Net Winner to view a list of User

Accounts attributed to that Participant Net Winner (the “Attributed User Accounts”). The Net

Winner Bar Date Notice shall be transmitted in English, Spanish, and Portuguese to the

electronic mail address used by the Participant Net Winner when establishing User Accounts

with TelexFree.

       20.     The Participant Net Winners who assert ownership of User Accounts in addition

to the Attributed User Accounts (the “Additional User Accounts”) shall have not less than thirty

(30) days from transmission of the Net Winner Bar Date Notice (the “Bar Date”) to identify the

Additional User Accounts by providing the User Account (or login) and the Participant’s name

and address. For purposes of establishing ownership of the Additional User Accounts, the

Hyperlink will request additional identifying information such as the Participant Net Winner’s

phone number, password, or other information used when establishing the Participant Net

Winner’s Additional User Accounts.

       21.     Except with respect to Additional User Accounts identified by a Participant Net

Winner on or before the Bar Date using the Hyperlink, no Participant Net Winner shall be

entitled to assert a claim of ownership as to any Participant Claimant’s User Account(s). This

bar order shall not preclude Participant Net Winners from asserting a claim of ownership of User

Accounts other than Participant Claimant User Accounts in connection with the determination of



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liability of such Participant Net Winners in the Adversary Proceedings. A Participant Net

Winner’s designation or failure to designate Additional User Accounts by the Bar Date shall not

be used as evidence in the Adversary Proceedings.

       22.     The Trustee shall defer resolution of that portion of a claim of a Participant

Claimant that is based upon an Additional User Account or an Attributed User Account pending

determining of ownership of such account. The Trustee is authorized to seek a determination of

the balance of a Participant Claimant’s claim. Following the expiration of the Bar Date, the

Trustee may request that the Court establish further procedures respecting the resolution of

disputes pertaining to those Additional User Accounts or Attributed User Accounts.

       23.     Participant Net Winners who have filed Claims in these cases shall be subject to

the provisions of paragraph 20 herein provided, however, that such Claims shall otherwise be

determined in the Adversary Proceedings and provided further that the Trustee may seek to

estimate for distribution purposes in the Chapter 11 cases the claims of those Participant Net

Winners who timely asserted a net loss claim. No Participant Net Winner other than those who

filed a timely net loss claim shall be entitled to receive any distribution in the bankruptcy cases

by or through the Trustee or other estate representative. The amount of the net loss claim timely

filed by a Participant Net Winner shall be determined in the Adversary Proceedings or in the

Chapter 11 cases through a motion to estimate the claim filed by the Trustee.




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       24.        The class action proofs of claim filed by the Class Representatives on behalf of

the Participant Net Winners, claims numbered 132229-24113, 132229-24114, and 132229-24115

shall be adjudicated in the Adversary Proceedings and shall not be entitled to receive any

distribution in the bankruptcy cases made by or through the Trustee or other estate

representative.



Dated: December 26, 2017                        _______________________________________
                                                The Honorable Melvin S. Hoffman
                                                United States Bankruptcy Judge
737163




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